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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  JANE DOE, M.D., and JOHN DOE,

    Plaintiffs,

    v.

  THE UNIVERSITY OF COLORADO,

  DONALD ELLIMAN, Chancellor of the              Case No. 1:21-cv-2637
  University of Colorado Anschutz School of
  Medicine, in his official capacity, and
                                                 The Hon. Raymond P. Moore
  SHANTA ZIMMER, M.D., Senior Associate          U.S. District Judge
  Dean of Medical Education, University of
  Colorado Anschutz School of Medicine, in her
  official capacity,

    Defendants.


         PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF THEIR
                 MOTION FOR PRELIMARY INJUNCTION
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                                            INTRODUCTION

          Defendants’ Response is riddled with misrepresentations and legal errors. Most glaringly,

  they attempt to turn this case into a fight over religious sincerity, even though the policy at issue

  discriminated explicitly based on religious beliefs and affiliation, with sincerity going

  unquestioned. Further, Defendants’ Declarations mislead on basic science, claim that people of

  faith and conscience cannot ethically practice medicine, and even defend the morality of using

  Nazi experimentation data—all in the service of bulldozing the sincere religious beliefs of

  Plaintiffs.

          Without notice to Plaintiffs (or their counsel), the University of Colorado retreated from

  its discriminatory September 1st Campus Administrative Policy (“September 1st Policy”).1

  Caught on the wrong side of both the facts and law, Defendants attack Plaintiffs’ character,

  caricaturing their religious beliefs and claiming they have a “duty” to violate their conscience as

  to COVID-19 vaccinations and the practice of medicine.

          Defendants and their Declarants, licensed medical doctors and alleged “bioethicists,”

  urge that a host of common medicines, like Aspirin, Tylenol, and Tums, are connected with

  testing on aborted human fetal cell lines, just like the currently available COVID-19

  vaccinations. On this basis, their Declarants attack Plaintiffs’ religious position on the use of

  aborted human fetal cell lines in vaccines as either untenable or insincere.

          But Defendants omit the fact that Aspirin and Tylenol have been in use since the 1800’s

  and Tums (calcium carbonate and sugar) since 1928.2 These medicines were not developed in

  connection with abortion, at all. Whatever strange tests researchers may have performed in

  hundred-plus years since the development of Asprin, Tylenol, and Tums don’t impact the

  1
    Even so, Defendants cling to their defense of that policy, twisting its plain meaning and application.
  2
    https://cogforlife.org/2021/09/21/14-medicines-fr-matthew-schneider-claimed-use-aborted-fetal-cell-
  lines-but-do-not/
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  morality of taking these products for one’s headache or stomachache. (Dr. Jane Doe Decl. ¶¶28-

  29.)3 Defendants’ lie-by-omission serves as the foundation for their “bioethicists” to launch their

  salvos against Plaintiffs’ religious beliefs. These same “bioethicists” claim that Catholics must

  take the vaccine as a matter of faith (see, e.g., ECF No. 15-10, ¶ 7), conveniently leaving out that

  the Catholic Bishops of Colorado have publicly opposed COVID vaccine mandates without

  religious exemptions, even going so far as to publish a form letter for Catholic pastors to sign in

  support of their congregants’ religious exemption requests.4

          Defendants’ Response papers thus continue the illegal and unconstitutional Inquisition

  that Plaintiffs complained of and have suffered over the whole of this foul episode.

          Defendants also have the temerity to argue the old policy that it discretely left in the dust

  (notably soon after Plaintiff Dr. Jane Doe’s September 15th demand letter outlining its

  constitutional defects) was not in any way illegal and merely tested for religious insincerity

  (based on the false facts noted above), while at the same time arguing any challenges to that

  policy are now moot.5 They even double down on the fantasy that the University has figured out

  the teaching of the “Vatican” (a term for an Italian city-state and not the Church proper) on

  whether one must get a COVID-19 vaccine. (Def.’s Br. 7; ECF No. 15-10, ¶7.) And they

  preposterously argue that a convicted Catholic simply cannot practice medicine in today’s world

  if they’re not willing to “compromise” their religious beliefs (ECF No. 15-5, ¶18), and that they

  should even unquestionably accept the fruits of “Nazi experiments” (ECF No. 15-7, ¶11). To put

  it mildly, Defendants’ opposition brief confirms (and even celebrates) the complete lack of

  3
    https://cogforlife.org/2021/09/21/14-medicines-fr-matthew-schneider-claimed-use-aborted-fetal-cell-
  lines-but-do-not/
  4
    https://cocatholicconference.org/template-for-religious-exemption-from-covid-19-vaccines/.
  5
    Plaintiffs will amend their Complaint to reflect the new policy (“September 24th Policy”), the existence
  of which Defendants did not tell Plaintiffs (or their counsel). The September 24th Policy was enacted
  after the September 1st deadline for religious exemption requests of staff and students to be filed and
  addressed, and no reconsideration of prior denials has been made under the September 24th Policy.
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  religious neutrality underlying their obviously defective Policy, whether viewed from September

  1st or 24th.

         More to it, the only policy imposed on Plaintiffs’ religious objections to the available

  COVID-19 vaccines was the September 1st policy, so it’s because of that policy that Dr. Jane

  Doe remains on indefinite administrative leave with impending termination and Student John

  Doe has been effectively expelled and cannot return unless he violates his sincerely held

  religious beliefs. Plaintiffs thus remain in need of an injunction on that policy and a

  corresponding reconsideration and granting of their requests for religious accommodation in

  accord with the Constitution. Therefore, despite the University’s midnight retreat from its

  brazenly unconstitutional denominational discrimination in the September 1st Policy, Plaintiffs’

  original challenge is not moot and a preliminary injunction should now issue.


                                             ARGUMENT

  I.     LIKELIHOOD OF SUCCESS ON THE MERITS

         A.      Plaintiffs’ Challenge is Not Moot, and the September 1st Policy
                 Unquestionably Discriminated Based on Religion and Not Religious
                 Sincerity.

         Defendants argue Plaintiffs’ challenge is now moot because of the midnight retreat from

  the old policy and the enshrinement of a new policy on September 24th attempting to cover their

  discriminatory tracks. At the same time they insist the old policy did nothing wrong and merely

  tested whether a religious objector’s beliefs were “truly held.” In reality, both Plaintiffs were

  victim only to the September 1st Policy and thus their constitutional challenges remain live.

  Additionally, Defendants utterly misrepresent both the terms and application of that policy,

  which unquestionably tested not for religious sincerity but for whether one belonged to a religion

  that formally opposed all vaccinations.


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                 1.      Plaintiffs’ challenge is not moot because their harm is the
                         result of the September 1st Policy.

         Plaintiffs retain a personal interest in enjoining the September 1st Policy because it’s that

  Policy which has resulted in their expulsion from the University, and no other policy has applied

  to them at this point. Dr. Jane Doe’s religious exemption application was denied by the

  anonymous “Vaccine Verify” “team” on August 26, 2021, in a letter stating simply that her

  beliefs did not accord with “campus policy, which only recognizes religious exemptions based

  on a religious belief whose teachings are opposed to all immunizations.” (V. Cmplt. ¶35.) That

  policy was formalized on September 1st and thus constitutes the “September 1st Policy” at issue

  here. (Id. Ex. 1.) And Student John Doe was denied on August 30th via letter from Defendant

  Zimmer, who reiterated that “[t]he University’s mandatory vaccination policy offers exemptions

  to individual’s [sic] whose religious beliefs are opposed to all vaccinations,” and concluded that

  his objections were merely “of a personal nature and not part of a comprehensive system of

  religious beliefs.” (Id. ¶49-50.) As a result, Dr. Jane Doe was threatened with termination and

  has been placed on indefinite administrative leave, and John Doe has taken a coerced leave of

  absence and cannot return unless he violates his religious beliefs. (Id. ¶¶52-53.)

         Plaintiffs challenges are accordingly not moot, because each “was entitled to a neutral

  decisionmaker who would give full and fair consideration to his [or her] religious objection as he

  [or she] sought to assert it.” Masterpiece Cakeshop, Ltd v. Colorado Civil Rights Com’n, 138 S.

  Ct. 1719, 1732 (2018). For that reason, “the rulings of the” University and those “that enforced

  the [University’s] order must be invalidated.” Id. Such brazen violations of religious neutrality

  cannot be immunized by locking Plaintiffs into the disfavored religious category, throwing away

  the key, and starting over again. The University “was obliged under the Free Exercise Clause to




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  proceed in a manner neutral toward and tolerant of [Plaintiffs’] religious beliefs,” id. at 1731, and

  thus an injunction must issue against that constitutionally defective process.

         This case thus does not involve the doctrine of voluntary cessation, because Defendants

  have not cured the unconstitutional process actually applied to Plaintiffs. But even if it did,

  Defendants have doubled down on the rightfulness of the September 1st Policy and have refused

  to disclaim the reasonable probability that it will be promulgated again. (Defs.’ Br. 13.) Indeed,

  the University asserts that the September 1st Policy employs the same “two-step” evaluation as

  the September 24th policy, and that reason for switching to the latter version was simply “to

  further narrow the allowable requests for exemptions.” (Id. 6, 16.) Thus, not only has the

  University failed to make “absolutely clear” that “the alleged wrongful behavior could not

  reasonably be expected to recur,” Brown v. Buhman, 822 F.3d 1151, 1166-1172 (10th Cir. 2016),

  it believes the September 1st Policy remains in effect in modified form. Plaintiffs’ own attempt

  to twist the meaning of that policy thus confirms the live nature of Plaintiffs’ challenge and their

  need for an injunction.

                 2.      Contrary to Defendants’ desperate contentions, the September
                         1st Policy expressly discriminated based on religion and not on
                         religious sincerity.

         Appallingly, Defendants deny that the September 1st policy and its application “in any

  way differentiated between various religious views or denominations.” (Defs.’ Br. 13.) They say

  it involved merely “a two-step process” evaluating one’s religious sincerity and whether an

  accommodation would impose an undue hardship on the University. (Defs.’ Br. 16.) And they

  say Plaintiffs’ position to the contrary is based on a “strained interpretation” of the policy’s text.

  (Id.) Once again, Defendants’ arguments are wholly out of touch with reality. The only thing

  “strained” here is Defendants’ attempt to defend the old policy.


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          The text of the September 1st Policy could not be clearer. Only persons with “religious

  belief[s] whose teachings are opposed to all immunizations” could submit requests for religious

  exemptions. (V. Cmplt. Ex. 1.) Even if there were a question about the role of the word

  “teachings” (which there is not), it is simply undeniable that an Anschutz student or employee

  was required to religiously oppose “all immunizations” in order to qualify for exemption,

  regardless of whether they had a harmonized reason for opposing only some vaccines, or

  whether an accommodation would pose an undue hardship on the University (an issue nowhere

  mentioned in the Policy6). (Id.) It’s thus clear that the second of the two questions posed by

  “Vaccine Verify” to those seeking religious exemption asking whether they’ve “had an influenza

  or other vaccine in the past” was not to determine whether their religious opposition to the

  COVID-19 vaccines was sincere, but whether applicants held the proper religious belief under

  “campus policy” “opposed to all immunizations.” (See, e.g., V. Cmplt. ¶35, Ex. 1.)

          Indeed, the University applied exactly that understanding to Dr. Jane Doe, who stated that

  she religiously opposed the available COVID-19 vaccinations but did not religiously oppose all

  vaccinations because all vaccinations (and in particular the flu vaccine) “do[] not utilize

  unethically derived cell lines.” (V. Cmplt. ¶33.) Her distinction between COVID-19 vaccines and

  at least some other permissible vaccines (nowhere did she imply support of all other vaccines)

  thus had a reasoned basis, and yet she was still denied for not opposing “all immunizations” per

  “campus policy.” (Id. ¶35; see also Dr. Jane Doe Decl. ¶15.) Moreover, Defendants fail to

  acknowledge that Dr. Jane Doe was not informed she would be an “undue hardship” to the

  University until University counsel responded to her demand letter on September 20th, nearly a

  month after she received her official denial solely on religious grounds and in a blatant pretextual

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   Nor does it appear that any medical exemption requestors were actually subjected to an undue hardship,
  or any burden, analysis at all. See, e.g., Declaration of Student A, ¶¶8-9 (dkt. 3-1); Declaration of
  Elliman, ¶13 (dkt. 15-13).
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   attempt to cover for the prior policy’s express discrimination—which the University was soon to

   abandon on September 24th. (Pls.’ Op. Br. 22.-24.)

           Further, the University’s application of the policy to John Doe and Student A confirms its

   foray into flagrant denominational discrimination. Even though John Doe’s request for religious

   exemption asserted his Buddhist opposition to all vaccines, an August 24th email from the

   “Student Response Team” (as signed off by Defendant Zimmer) openly stated “[t]he University

   will only accept requests for religious exemption that cite to the official doctrine of an organized

   religion, in this case, Buddhism, as announced by the leaders of that religion.” (V. Cmplt. ¶43,

   45 (emphasis added).) And the University employed a similar inquisition against Student A. (V.

   Cmplt. ¶58 and Ex. 16 (emphasis added).) Defendants do not acknowledge any of these facts.

           In light of the foregoing, Defendants’ assertion that “the University’s actions” did not “in

   any way differentiate[] between various religious views or denominations” is risible. (Defs.’ Br.

   13 (emphasis added).) Simply, the September 1st Policy unquestionably evaluated not whether

   one’s beliefs were “truly held” but whether those beliefs were true, based on the University’s sad

   attempt at discerning the official teachings of an individual’s religion. This is not the first time

   Colorado state government officials have launched such an inquiry. See Masterpiece, 138 S. Ct.

   at 1731 (“It hardly requires restating that the government has no role in deciding or even

   suggesting whether the religious grounds for [an individual’s] conscience-based objections is

   legitimate or illegitimate.”) In sum, the Plaintiffs’ challenge to the September 1st Policy is still

   live, and that policy blatantly discriminated against them based solely on their religious beliefs

   and affiliations.

           B.      Defendants’ Attempts to Undermine Plaintiffs’ Sincerity are
                   Unavailing.




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           Defendants attack Plaintiffs’ religious sincerity on several grounds, all of which fail.

   Primarily, Defendants arrogantly assert that “as a bioethicist, Dr. Doe was surely aware” that

   common medications like Tylenol and Tums which “she routinely prescribes to her patients []

   have been tested on the same HEK-293 cell line as the Pfizer and Moderna vaccines.” (Defs.’ Br.

   7-8 (emphasis added).) But the “surely”-she-must-know standard is hardly evidence of lack of

   sincerity. Moreover, Dr. Doe’s attached declaration fills in the details Defendants omitted: “most

   of these medications mentioned are not developed via, but used in conjunction with, the aborted

   fetal cell lines (for another experiment) – an important distinction,” and that “[m]any of these

   medications were developed prior to the abortion that resulted in HEK-293 cells” and “thus they

   are not a result of the use of these cells.” (Jane Doe Decl. ¶29 (emphasis in original).)7 She also

   states that, since obtaining her Master’s in bioethics in 2018, she does oppose the MMR and

   Hepatitis B vaccines per their intrinsic reliance on abortion-derived cell lines, despite having

   received them without her consent as a child. (Id. ¶15). These are facts the University might

   have learned had it engaged in any semblance of an “interactive process” as required under Title

   VII. See E.E.O.C. v. C.R. England, Inc., 644 F.3d 1028, 1038 n.11, 1049 (11th Cir. 2011).

           Indeed, in a rare moment of clarity and candor far removed from lawyers’ spin, an

   August 29th email from Dr. Jane Doe’s medical director and immediate supervisor Patrick Cripe

   to several of her teammates at Children’s Hospital speaks volumes. (Jane Doe Decl. ¶13, and Ex.

   A thereto.) Cripe noted that while he strongly disagrees with Dr. Jane Doe’s religious opposition

   to the COVID-19 vaccines, “this is a strongly held religious belief for her – not just a newly

   found opinion or concern;” that she “dutifully wears PPE . . . , cleans workstations and phones,

   and follows all other infection control measures;” that the process used against her involving a

   7
     https://cogforlife.org/2021/05/12/lets-get-a-few-things-cleared-up-testing-cell-lines-and-fetal-tissue/;
   https://cogforlife.org/2021/09/21/14-medicines-fr-matthew-schneider-claimed-use-aborted-fetal-cell-
   lines-but-do-not/%20).
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   “form letter from what appears to be a committee with no defined members, no contact

   information, and no information for possible recourse” “is abhorrent;” and that it is completely

   “out of bounds for a University” to determine “what constitutes an ‘acceptable’ religious belief.”

   (Jane Doe Decl. Ex. A.) Simply, Mr. Cripe’s email puts the lie to Defendants’ case.

           The University also attacks John Doe’s sincerity on the ground that he admitted to

   receiving a prior vaccine in order to volunteer at a hospital, and because he did not raise his

   aborted-fetal-cell-lines objection until his second request letter. (Defs.’ Br. 9.) But the University

   fails to acknowledge that he received the prior vaccine under duress and subsequently promised

   himself to “never go against my faith again,” and that his discovery that available COVID-19

   vaccines were developed in reliance on aborted fetal cell lines “more gravely offended” his

   already stated religious beliefs against “not killing.” (Am. Cmplt. ¶¶44, 47.) Defendants’

   assertions simply fail to actually grapple with John Doe’s actual beliefs and, of course, merely

   attempt to whitewash the overt religious discrimination actually wielded against him.

           Finally, it appears the University has not put any of its students or staff on its other

   campuses through this religious inquisition, solely on the Anschutz campus.8 Plaintiffs deserve

   equal treatment under the Constitution, of which they have been deprived.

           C.      The September 24th Policy Also Violates the First Amendment.

           Plaintiffs will be imminently amending their complaint and formally seeking a

   preliminary injunction against the September 24th Policy, as well, and hereby incorporate by

   reference the arguments in that impending motion. However, Plaintiffs note the following points:
   8
     See, e.g., ucdenver.edu/coronavirus/testing (“CU Denver’s process allows exemptions to anyone who
   requests one for any reason; religious, medical, or personal. We trust our students and employees to act in
   the best interest of our community.”); https://covid19.uccs.edu/vaccination (“How can I request an
   exemption? UCCS students can request an exemption in the attestation process, which will be sent to each
   student individually. There is no official approval process at this time outside of claiming you are
   exempting out of receiving the vaccine.”).


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          Even if not demanded by Title VII, the ADA, or Section 504 of the Rehabilitation Act,

   the First Amendment prohibits the University from denying students any opportunity for

   religious accommodations if it offers it to employees (as Title VII requires). See Tandon v.

   Newsom, 141 S. Ct. 1294, 1296 (April 9, 2021) (a regulation that substantially burdens religious

   exercise is not generally applicable when it “treat[s] any comparable secular activity more

   favorably than religious exercise”).

          Additionally, here “the specific series of events leading to the . . . official policy in

   question” reveals its de facto lack of religious neutrality. Church of the Lukumi Babalu Aye, Inc.

   v. Hialeah, 508 U.S. 520, 540 (1993). This is further confirmed by Defendants’ proud admission

   that they have not granted any religious exemptions, (ECF No. 15-13, ¶13), while hospitals

   across the country and the CU Health System itself have granted religious exemptions on the

   same or similar bases as Plaintiffs seek here. (Am. Cmplt. Ex. 20.)

          For similar reasons, the University’s admission that it has granted medical exemptions

   but not religious accommodations also violates the First Amendment’s promise of religious

   equality. (Defs.’ Br. 26). See A. v. Hochul, 2021 WL 4734404, at *8 (N.D.N.Y. Oct. 12, 2021)

   (“[A]lthough defendants claim that they expect the number of people in need of a medical

   exemption to be low . . . absent further factual development the Court cannot conclude that

   [denying all religious exemptions] satisfies the requirement of general applicability.”).

          D.      The September 1st Policy Fails Strict Scrutiny.

          Defendants do not even attempt to argue the September 1st Policy satisfies strict scrutiny

   (nor would any attempt succeed) (Defs.’ Br. 19) and thus have waived that argument.

   Additionally, their assertion that broadly seeking to “achieve herd immunity in Colorado to end

   the COVID-19 pandemic” is unavailing because the question “is not whether the [University]

   has a compelling interest in enforcing its . . . policies generally, but whether it has such an
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   interest in denying an exception to [the plaintiffs].” Fulton v. City of Philadelphia, 141 S. Ct.

   1868, 1881 (2021). And here, they can have no such interest, and their policies cannot be

   narrowly tailored, where they have failed to “explain[] why they chose to depart from” the

   practice of numerous other hospitals offering religious accommodations from their COVID-19

   vaccine mandates. A. v. Hochul, 2021 WL 4734404 at *9. Thus, neither of the University’s

   policies can satisfy strict scrutiny, and Plaintiffs are likely to succeed on the merits of their First

   Amendment Claim.9

           E.      Plaintiffs’ Equal Protection Claim is Also Likely to Succeed.

           Defendants argue that Plaintiffs’ Equal Protection argument fails because they are not

   similarly situated to other Anschutz individuals who have received exemptions from the

   mandate. They say this is because nobody else has received a religious exemption, and no

   Plaintiff has shown the vaccine “presents a risk to their health or safety.” (Defs.’ Br. 24.) But, as

   Defendants acknowledge, the question is whether Plaintiffs and other medical exemptees “are in

   all relevant respects alike.” (Id. (quoting Nordlinger v. Han, 505 U.S. 1, 10 (1992).) And here,

   the relevant aspect is the effect of an exemption on the campus’s goal of achieving herd

   immunity and ending COVID-19. (Id. 6, 26 (“Vaccination is the only safe means of controlling

   the spread and further mutations of the SARS-CoV-2 virus to achieve heard immunity”; “There

   is only one way to stop this devastation: by reducing the number of new infections through mass

   vaccinations, such that the virus cannot continue mutating in new hosts”)). Thus, Plaintiffs are

   similarly situated to medical exemptees—including those allowed to continue caring for


   9
    Critically, whether government has the power to impose vaccine mandates is not at issue in this case,
   contrary to what Defendants would have this Court believe. Rather, the issue is whether government may
   apply a vaccine mandate to certain religious adherents in violation of the Free Exercise Clause, especially
   when it has flagrantly imposed disparate treatment on those religious believers. See Zucht v. King, 260
   U.S. 174, 177 (1922) (finding “a substantial constitutional question” as to whether the application of a
   San Antonio school vaccine mandate violated plaintiff’s rights under the Equal Protection Clause).
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   vulnerable patients in clinical settings (see Student A Decl., ECF No. 3-1)—with respect to that

   interest, and Defendants offer no rational distinction for why Plaintiffs should be treated any

   differently. Thus, Plaintiffs are likely to succeed on the merits of all their claims.

   II.    The Remaining Factors All Still Favor Plaintiffs.

          A. Irreparable Harm: Because Plaintiffs are likely to succeed on the merits of their

   First Amendment claims, they have “unquestionably” suffered “irreparable harm.” Fish v.

   Koach, 840 F.3d 710, 752 (10th Cir. 2016) (quoting Elrod v. Burns, 427 U.S. 347, 374 (1976)).

          Defendants’ additional protestations also fail. They argue that John Doe (an economically

   vulnerable medical student) remains free to resume his studies at the University on the condition

   that he violate his sincerely held religious beliefs or to “transfer to another school,” which

   entirely ignores his documented inability to simply transfer to another program. (V. Cmplt. ¶72.)

   They also argue Dr. Jane Doe can simply be compensated for any loss of employment,

   mentioning nothing about her impending loss of professional standing, reputation, admitting

   privileges access, and other non-compensable harms as a result of being terminated from prior

   employment. (Id. ¶71.)

          B. Balance of Equities and Public Interest: Defendants argue that Plaintiffs’ refusal to

   vaccinate poses an unduly high risk to themselves and others in the effort to stop COVID-19.

   Whatever the theoretical possibility that an unvaccinated Plaintiff following safety protocols

   could spread COVID to another member of the Anschutz community, this risk is no greater than

   that for a member of the same community authorized to be unvaccinated for medical reasons. See

   Roberts v. Neace, 958 F.3d 409, 416 (6th Cir. 2021). Further, the idea that a Plaintiff might

   spread COVID “is somewhat speculative, and it fails to consider the broader picture” in part

   because the University’s policy “does not limit [Anschutz members’] exposure to unvaccinated”

   people at large, as there is no requirement that patients be vaccinated or that Anschutz members
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   refrain from mingling with the unvaccinated when they’re off campus. Dahl v. Bd. of Trustees of

   W. Michigan Univ., 2021 WL 4618519, at *6 (6th Cir. Oct. 7, 2021). They have also presented

   no data showing that alternative precautions taken by medical professionals over the past 19

   months are not effective in stopping COVID—while Plaintiffs’ expert and Plaintiff Jane Doe

   attest that these precautions work. (French Decl. ¶¶12-16; see also Jane Doe Decl. ¶¶13, 32.)

          Critically, Dr. Jane Doe’s medical director acknowledged that her termination would only

   contribute to physician fatigue and burnout on her small team, “potentially pos[ing] a risk to

   critically ill children in the region and/or those currently under our care.” (Jane Doe Decl. ¶¶42,

   43 and Ex. A thereto.) And of course, “it is always in the public interest to prevent the violation

   of a party’s constitutional rights.” Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1145

   (10th Cir. 2013).

          Here, given that exemptions have been actually allowed for medical reasons at Anschutz,

   and that they’ve been allowed for medical and religious reasons across health care facilities in

   Colorado and the rest of the country—without any reported harm to patients or the health care

   system—the University “has not shown that public health would be imperiled by employing less

   restrictive measures” with respect to Plaintiffs here. Tandon, 141 S. Ct. at 1297 (internal quotes

   omitted). Thus the equitable factors weigh heavily in favor of a preliminary injunction.


                                            CONCLUSION

          For the foregoing reasons, a preliminary injunction should issue.

                                                         Respectfully submitted,


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